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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 15-20545-CR-LENARD



  UNITED STATES OF AMERICA,

                  Plaintiff,

  vs.

  GUILLERMO A. SANCHEZ-BADIA,
  ISABEL C. SANCHEZ,
             and
  GUSTAVO J. GIRAL,

                  Defendants.
                                          /

                                FORFEITURE MONEY JUDGMENT

          THIS CAUSE is before the Court upon the motion of the United States of America

  (hereinafter “United States”) for entry of a forfeiture money judgment against Guillermo A.

  Sanchez-Badia, Isabel C. Sanchez and Gustavo J. Giral (collectively the “Defendants”), pursuant

  to    Title   18,   United    States   Code,   Sections   981(a)(1)(C)    and   982(a)(1),   and

  Fed.R.Crim.P.32.2(b)(2). Being fully advised in the premises, the Court finds as follows:

          1.      On January 16, 2015, Defendants were charged by way of Indictment with

  Conspiracy to Commit Wire Fraud, in violation of Title 18, United States Code, Section 1349

  (Count 1), Wire Fraud, in violation of Title 18, United States Code, Section 1343 (Count 2), and

  Conspiracy to Commit Money Laundering, in violation of Title 18, United States Code, Section

  1956(h) (Count 9), amongst other charges. [ECF No. 3].

          2.      The Indictment further alleged that upon conviction of a violation of Title 18,
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  United States Code, Section 1343 or 1349, the Defendants shall forfeit to the United States any

  property, real or personal, which constitutes or is derived from proceeds traceable to said

  violations, pursuant to Title 18, United States Code, Section 981(a)(1)(C); and, the Indictment

  also provided that upon conviction of a violation of Title 18, United States Code, Section 1956,

  the Defendants shall forfeit to the United States any property, real or personal, involved in such

  offense, or any property traceable to such property, pursuant to Title 18, United States Code,

  Section 982(a)(1). The Indictment further provided as subject to forfeiture approximately

  $41,924,418.00, which represents the amount of money derived from the commission of the

  alleged wire fraud and money laundering offenses. [ECF No. 3].

         3.      On February 26, 2016 and March 21, 2016, the Defendants pled guilty to Counts

  1, 2 and 9 of the Indictment. As part of their plea, the Defendants agreed to the entry of a

  forfeiture order in the amount of $41,924,418.00. [ECF Nos. 72, 74 and 84].

         4.      The entry of an order of forfeiture in the form of a personal money judgment

  against the Defendants is specifically authorized by Rule 32.2(b)(1) of the Federal Rules of

  Criminal Procedure.

         Therefore, upon motion of the United States, and for good cause shown, it is hereby

  ORDERED that:

         1.      A money judgment in the amount of $41,924,418.00 is hereby entered against

  Guillermo A. Sanchez-Badia, Isabel C. Sanchez and Gustavo J. Giral, jointly and severally,

  pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and 982(a)(1).

         2.     The United States may seek collection of the money judgment by attachment,

  garnishment, execution, or any other legal remedy on any property or asset belonging to

  Defendants, or in which the Defendants have an interest, in order to satisfy the money judgment.

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         3.     Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

  Order shall become final as to the Defendants at the time of their sentencing and shall be made

  part of the sentence of the Court and included in the judgment in this cause.

         4.     The United States District Court shall retain jurisdiction in this matter for the

  purpose of enforcing this judgment.

         DONE and ORDERED in Chambers, in Miami, Florida this               __ day of April, 2016.



                                                       JOAN A. LENARD
                                                       UNITED STATES DISTRICT JUDGE




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